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                                                                                                        E-FILED
                                                                       Sunday, 07 August, 2022 02:03:42 PM
                                                                               Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                   SPRINGFIELD DIVISION
Missy Baker, individually and on behalf of all                      3:22-cv-03148
others similarly situated,
                                 Plaintiff,

                   - against -                                 Class Action Complaint

Walmart Inc.,
                                                                Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to Plaintiff,

which are based on personal knowledge:


       1.    Walmart Inc. (“Defendant”) manufactures, labels, markets, and sells mustard

promoted as sweetened with honey under the Great Value brand (“Product”).
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       2.    The representations include “Honey Mustard,” “Made With Real Honey,” and

pictures of fresh mustard seeds and a honey dipper in a pool of honey.

       3.    The representations cause consumers to expect the Product contained honey as the

exclusive, primary, or significant sweetening ingredient.

I.    MUSTARD

       4.    Mustard is a paste composed of ground mustard seed, salt, and vinegar, that may

contain added sweeteners and spices.

       5.    The added sweeteners can include refined sugar and honey.

       6.    Honey mustard refers to a “basic mild, sweet mustard [with] a bit of a bite that’s

mellowed and smoothed with a dollop of sweet honey.”

       7.    Mustard and honey are typically blended in equal amounts to make honey mustard.

       8.    Dictionaries, chefs, and commercial formulators define honey mustard as mustard

blended with honey.

       9.    While honey mustard may contain some sugar, it is primarily sweetened with honey.

II.   AVOIDANCE OF SUGAR

       10.   According to the National Institutes of Health (“NIH”), there is a direct link between

excess sugar consumption and obesity.1

       11.   Doctors and nutritionists agree that excess sugar intake leads to weight gain, Type 2

diabetes, dental caries, heart disease, cancer, and even dementia.2

       12.   One food industry insider stated that “[consumer] demand for sugar reduction [cuts]

across food and beverage categories,” from sodas to condiments.


1
 NIH, Sweet Stuff: How Sugars and Sweeteners Affect Your Health, October 2014.
2
 Marlene Cimons, Eating too much sugar can hurt your health, and for some it’s actually addictive,
Washington Post December 16, 2017.


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         13.   Speakers at the International Sweetener conference affirmed that “sugar avoidance

was a macro trend ‘that is here to stay and will only increase.’”

         14.   Surveys by Information Resources, Inc. (“IRI”) show that 58% of consumers avoid

sugar, and over 80% do so for reasons related to health and weight issues.3

III. SUBSTITUTION OF SUGAR WITH HONEY

         15.   In place of sugar, consumers are substituting foods sweetened with honey.

         16.   This is confirmed by USDA data, showing that the volume of honey has almost

doubled in the past 35 years, from 339 million to 603 million pounds.4

         17.   For the first time in history in 2020, honey surpassed white sugar as America’s

number one choice for a sweetener.

         18.   At least 50% of consumers are willing to pay more for foods primarily sweetened

with honey.

         19.   Roughly 60% of consumers look for references to honey on a front label when

deciding what to buy.

         20.   There are several reasons why consumers seek foods sweetened primarily with

honey.

         21.   First, almost three-quarters of consumers rate honey as “better-for-you” than sugar.

         22.   Second, 93% of consumers recognize that honey is a natural sweetener, because

unlike sugar, it is not heavily refined through harsh unnatural processes.

         23.   According to the director of the National Honey Board, “Honey fits perfectly with

consumers’ desire to know where their food comes from and their preference for foods that are


3
  Kieron Rooney, Yes, too much sugar is bad for our health – here’s what the science says, The
Conversation, March 8, 2018.
4
  USDA/ERS.


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unprocessed,” because it “is made by bees from the nectar of flowers.”

       24.      Third, honey has a lower glycemic index than sugar, causing slower fluctuations in

blood sugar and insulin levels.

       25.      Refined sugars lead to rapid spikes of blood sugar, with quick spurts of energy

followed by sharp declines, characterized by tiredness, headaches, and difficulties in

concentrating.

       26.      Fourth, honey is sweeter than sugar, so less of it is needed to achieve the same level

of sweetness.

       27.      Fifth, unlike sugar, honey has small but significant amounts of nutrients such as

vitamins, minerals, enzymes, phytonutrients and antioxidants.5

       28.      These benefits promote immunity and aid digestion.

IV.   MISREPRESENTATIONS ABOUT HONEY CONTENT

       29.      By describing the Product as honey mustard that is “Made with Real Honey” with a

pictures of a dripping honey dipper and mustard seeds, consumers will expect honey is its primary

or at least a significant sweetening ingredient.

       30.      However, sugar is the primary sweetener, listed fourth in the ingredients, followed

by salt, then honey, sixth.

                                                       INGREDIENTS: VINEGAR, WATER,
                                                       MUSTARD SEED, SUGAR, SALT,
                                                       HONEY, SPICES, GARLIC POWDER,
                                                       CARROT EXTRACT (COLOR), PAPRIKA.

       31.      The Nutrition Facts discloses 1 g (or 1000 milligrams) of added sugar and 25 mg of

added sodium.


5
 Brian Kennell, Healthy Food Trends Drive New Products, HuffingtonPost.com, October 1, 2015,
updated December 6, 2017.


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         32.    Mustard seeds have a negligible, almost non-detectible amount of sodium, which

means the salt content is provided almost exclusively by the added salt ingredient.

         33.    One gram of salt contains 388 mg of sodium.

         34.    For the Product to contain 25 mg of added sodium from only added salt, it would

contain roughly 64 mg of salt.

         35.    This means the amount of honey by weight is less than 64 mg.

         36.    The amount of sugar can be estimated at almost 16 times more than the amount of

honey.

         37.    Honey is not a significant sweetening ingredient in the Product based on these

calculations.

         38.    Consumers expect a product identified as honey mustard claiming to be “Made With

Real Honey” with pictures of a honey dipper and mustard seeds to be sweetened mainly with honey

or at a minimum, contain honey as a significant sweetening ingredient.

         39.    Such mustards are available to consumers and are not technologically or

commercially unfeasible, such as honey mustard made by True Made Foods, which lists honey as

its primary sweetening ingredient.




                            INGREDIENTS Organic Vinegar, Water, Honey, Apple
                            Puree Concentrate, Mustard Seed, Carrot, Butternut
                            Squash, Sea Salt, Turmeric, Paprika, Spices.


         40.    Defendant makes other representations and omissions which are false and

misleading.

         41.    The value of the Product that Plaintiff purchased was materially less than its value


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as represented by Defendant.

       42.      Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       43.      Plaintiff paid more for the Product based on the representations, and had she known

the truth, she would not have bought it or would have paid less.

       44.      As a result of the false and misleading representations, the Product is sold at a

premium price, approximately no less than $1.12 for 12 OZ (340g), excluding tax and sales, higher

than similar products, represented in a non-misleading way, and higher than it would be sold for

absent the misleading representations and omissions.

                                            Jurisdiction and Venue

       45.      Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

       46.      The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

       47.      Plaintiff Missy Baker is a citizen of Taylorville, Christian County, Illinois.

       48.      Defendant Walmart Inc. is a Delaware corporation with a principal place of business

in Bentonville, Benton County, Arkansas.

       49.      The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen.

       50.      The members of the class Plaintiff seeks to represent are more than 100, because the

Product has been sold for several years, with the representations described here, in thousands of

locations in the states covered by Plaintiff’s proposed classes.

       51.      Defendant transacts business within this District through sale of the Product at its




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over 150 stores within this State, and dozens within this District, and online, sold directly to

residents of this District.

        52.   Venue is in this District because Plaintiff resides in this District and the actions

giving rise to the claims occurred within this District.

        53.   This action is properly assigned to the Springfield Division of this District because a

substantial part of the events or omissions giving rise to these claims occurred in Christian County,

including Plaintiff’s purchase, consumption, and/or use of the Product and awareness and/or

experiences of and with the issues described here.

                                               Parties

        54.   Plaintiff Missy Baker is a citizen of Taylorville, Illinois, Christian County.

        55.   Defendant Walmart Inc. is a Delaware corporation with a principal place of business

in Bentonville, Arkansas, Benton County.

        56.   Walmart is an American multinational retail corporation that operates a chain of over

5,000 supercenters throughout the nation, selling everything from furniture to groceries.

        57.   While Walmart sells leading national brands, it also sells a large number of products

under one of its private label brands, Great Value.

        58.   Private label products are made by third-party manufacturers and sold under the

name of the retailer, or its sub-brands.

        59.   Previously referred to as “generic” or “store brand,” private label products have

increased in quality, and often are superior to their national brand counterparts.

        60.   Products under the Great Value brand have an industry-wide reputation for quality.

        61.   In releasing products under the Great Value brand, Defendant’s foremost criteria was

to have high-quality products that were equal to or better than the national brands.




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       62.   Defendant is able to get national brands to produce its private label items due its loyal

customer base and tough negotiating.

       63.   That Great Value branded products met this high bar was proven by focus groups,

which rated them above the name brand equivalent.

       64.   Private label products generate higher profits for retailers because national brands

spend significantly more on marketing, contributing to their higher prices.

       65.   A survey by The Nielsen Co. “found nearly three out of four American consumers

believe store brands are good alternatives to national brands, and more than 60 percent consider

them to be just as good.”

       66.   Private label products under the Great Value brand benefit by their association with

consumers’ appreciation for the Walmart brand as a whole.

       67.   The development of private label items is a growth area for Walmart, as they select

only top suppliers to develop and produce Great Value products.

       68.   Plaintiff purchased the Product on one or more occasions within the statutes of

limitations for each cause of action alleged, at Defendant’s stores, at locations such as 1530 W

Springfield Rd, Taylorville, IL 62568, between May and June 2022, among other times.

       69.   Plaintiff bought the Product because she believed and expected that the Product

contained honey as the exclusive, primary, and/or most significant sweetener because that is what

the representations and omissions said and implied, on the packaging and the absence of any

reference or statement elsewhere on the Product.

       70.   Plaintiff seeks to purchase mustard which contains honey as the exclusive, primary,

and/or most significant sweetener.

       71.   Plaintiff wanted more than a honey taste, but mustard sweetened with honey as an




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ingredient.

       72.    Plaintiff relied on the words, terms coloring, descriptions, layout, placement,

packaging, tags, and/or images on the Product, on the labeling, statements, omissions, claims, and

instructions, made by Defendant or at its directions, in digital, print and/or social media, which

accompanied the Product and separately, through in-store, digital, audio, and print marketing.

       73.    Plaintiff is part of the over 50% of consumers who seek to consume more whole

grains and less sugar for reasons including attention to their health, nutrition and wellness.

       74.    Plaintiff is part of the over 50% of consumers who is willing to pay, and does pay,

more for foods containing a predominant amount of whole grain ingredients and that are primarily

or exclusively sweetened with honey or contain honey as a significant sweetening ingredient.

       75.    Plaintiff bought the Product at or exceeding the above-referenced price.

       76.    Plaintiff relied on the front label representations identified here.

       77.    Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

       78.    Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the statements and claims made by Defendant.

       79.    The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant’s false and misleading statements and omissions.

       80.    Plaintiff bought the Product at or exceeding the above-referenced price.

       81.    Plaintiff would not have purchased the Product if she knew the representations and

omissions were false and misleading or would have paid less for it.

       82.    Plaintiff chose between Defendant’s Product and products represented similarly, but




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which did not misrepresent their attributes, requirements, features, and/or components.

        83.     The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

        84.     Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance the Product's representations are consistent with its attributes and/or

composition.

        85.     Plaintiff is unable to rely on the labeling and representations not only of this Product,

but other similar honey mustard condiments, because she is unsure whether those representations

are truthful.

                                            Class Allegations

        86.     Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                         Illinois Class: All persons in the State of Illinois who
                         purchased the Product during the statutes of
                         limitations for each cause of action alleged; and

                         Consumer Fraud Multi-State Class: All persons in
                         the States of North Dakota, West Virginia, Virginia,
                         North Carolina, Kentucky, New Mexico, Oklahoma,
                         Utah, Nebraska, South Carolina, Kansas, and
                         Wyoming who purchased the Product during the
                         statutes of limitations for each cause of action
                         alleged.

        87.     Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

        88.     Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

        89.     Plaintiff is an adequate representative because her interests do not conflict with other

members.


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       90.    No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.

       91.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       92.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       93.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                  (Consumer Protection Statute)

       94.    Plaintiff incorporates by reference all preceding paragraphs.

       95.    Plaintiff believed the Product contained honey as the exclusive, primary, or

significant sweetening ingredient.

       96.    Plaintiff relied on the front label representations about honey to believe the Product

contained honey as the exclusive, primary, or significant sweetening ingredient.

       97.    Plaintiff paid more for the Product based on these representations, and she would not

have purchased it or paid as much if the true facts had been known, suffering damages.

                              Violation of State Consumer Fraud Acts

                               (Consumer Fraud Multi-State Class)


       98.    The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

       99.    The members of the Consumer Fraud Multi-State Class reserve their rights to assert




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their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

       100. Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct.

       101. As a result of Defendant’s use of unfair or deceptive acts, the Consumer Fraud Multi-

State Class sustained damages.

                                    Breaches of Express Warranty,
                Implied Warranty of Merchantability/Fitness for a Particular Purpose and
                       Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       102. The Product was manufactured, identified, distributed, marketed, and sold by

Defendant and expressly and impliedly warranted to Plaintiff that it contained honey as the

exclusive, primary, or significant sweetening ingredient.

       103. Defendant directly marketed the Product to Plaintiff and consumers through its

advertisements and marketing, through various forms of media, on the packaging, in print

circulars, direct mail, product descriptions, and targeted digital advertising.

       104. Defendant knew the product attributes that potential customers like Plaintiff were

seeking and developed its marketing and labeling to directly meet those needs and desires.

       105. Defendant’s representations about the Product were conveyed in writing and

promised it would be defect-free, and Plaintiff understood this meant that it contained honey as

the exclusive, primary, or significant sweetening ingredient.

       106. Defendant’s representations affirmed and promised that the Product contained honey

as the exclusive, primary, or significant sweetening ingredient.

       107. Defendant described the Product so Plaintiff and consumers believed it contained

honey as the exclusive, primary, or significant sweetening ingredient, which became part of the




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basis of the bargain that it would conform to its affirmations and promises.

       108. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       109. This duty is based on Defendant’s outsized role in the market for this type of Product,

a trusted company, known for its high-quality products, honestly marketed to consumers.

       110. Plaintiff recently became aware of Defendant’s breaches of the Product’s warranties.

       111. Plaintiff provides notice to Defendant, its agents, representatives, retailers, and their

employees that it breached the express and implied warranties associated with the Product.

       112. Defendant received notice and should have been aware of these issues due to

complaints by third-parties, including regulators, competitors, and consumers, to its main offices,

and by consumers through online forums.

       113. The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       114. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container, or label, because it was

marketed as if it contained honey as the exclusive, primary, or significant sweetening ingredient.

       115. The Product was not merchantable because Defendant had reason to know the

particular purpose for which the Product was bought by Plaintiff, because she expected it contained

honey as the exclusive, primary, or significant sweetening ingredient, and she relied on

Defendant’s skill and judgment to select or furnish such a suitable product.

       116. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.




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                                       Negligent Misrepresentation

       117. Defendant had a duty to truthfully represent the Product, which it breached.

       118. This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, a trusted company known for high-quality

products, honestly marketed to consumers.

       119. Defendant’s representations and omissions regarding the Product went beyond the

specific representations on the packaging, as they incorporated the extra-labeling promises and

commitments to quality, transparency and putting customers first, that it has been known for.

       120. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       121. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       122. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       123. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                              Fraud

       124. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained honey as the exclusive, primary, or significant sweetening ingredient.

       125. Defendant possesses specialized knowledge regarding the importance of the source

of a food’s sweetener to consumers based on internal and external research and reports.

       126. The records Defendant is required to maintain provided it with actual and/or




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constructive knowledge of the falsity and/or inaccuracy of the representations.

         127. The records Defendant is required to maintain provided it with actual and/or

constructive knowledge of the falsity and/or inaccuracy of the representations.

                                         Unjust Enrichment

         128. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and the

         undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

         challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

         representations, and restitution and disgorgement for members of the class pursuant to the

         applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

         claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for Plaintiff's attorneys and

         experts; and

   6. Other and further relief as the Court deems just and proper.

Dated:            August 7, 2022
                                                        Respectfully submitted,



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                        /s/Spencer Sheehan
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